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                              EXHIBIT A
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  121 LRP 9952                                                COVID-19 pandemic, the parents filed for due
       In re: Student with a Disability                       process. They also joined a related class action
                                                              lawsuit. Both the District Court and the IHO denied
    New York State Educational Agency
                                                              the parents' request for stay-put funding. The parents
                   21-006                                     challenged the IHO's decision. They asserted that the
               February 3, 2021                               transition to hybrid and remote learning substantially
  Related Index Numbers                                       altered the student's educational program and the last
  116.60 Stay-Put                                             agreed-upon placement was unavailable because it
  116.50 Reimbursement                                        was no longer able to provide the required services.
                                                              The SRO explained that the IDEA requires that a
  116.35 Implementation
                                                              student remain in his then current educational
  175.025 Multiple Disabilities                               placement, unless the parents and the district
  Judge / Administrative Officer                              otherwise agree, during the pendency of any
  Justyn Bates, State Review Officer                          proceedings relating to the identification, evaluation,
  Ruling                                                      or placement of the student. He added that the current
                                                              placement is the one described in the student's current
  Finding that school closures as a result of the
                                                              IEP, the operative placement actually functioning at
  COVID-19 pandemic did not alter the pendency
                                                              the time, or the placement at the time of the
  placement of a student with multiple disabilities under
                                                              previously implemented IEP. Placement at the private
  the IDEA, an SRO dismissed the parents' appeal.
                                                              school was not agreed upon, the SRO noted, and
  Meaning                                                     parents cannot unilaterally transfer their child and
  Parents who unilaterally place their child in a private     subsequently initiate an IEP dispute to argue that the
  school without the consent of the district do so at their   new school's services must be funded on a pendency
  own financial risk. Here, parents unsuccessfully            basis. "Permitting pendency on such grounds
  argued that the provision of remote services during         effectively    renders     the    stay-put   provision
  the pandemic meant that the student's educational           meaningless," he remarked. Parents unilaterally
  program was unavailable, he essentially had no              change their child's placement at their own financial
  pendency placement, and they were entitled to               risk, the SRO added. Even if COVID-19 altered the
  funding of their unilateral placement. It is                student's programming, it does not work a change in
  well-established that the provision of modified or          pendency or shift the student's stay-put placement to
  alternate services during the pandemic does not result      the parents' unilateral placement, he reasoned. The
  in a change of placement. When parents notify               SRO dismissed the parents' claims.
  districts of their unilateral placement, districts should   Full Text
  warn them of the financial risk.

  Case Summary                                                     APPEARANCES

       The parents of a student with multiple                       Brain Injury Rights Group, Ltd., attorneys for
  disabilities were not entitled to public funding of their   petitioner, by Peter G. Albert, Esq.
  unilateral private placement as the student's stay-put           Judy Nathan, Interim Acting General
  placement regardless of whether the provision or            Corporation Counsel, attorneys for respondent, by
  remote services during the pandemic altered the             Brian Davenport, Esq.
  student's programming. The parents disagreed with
                                                                                    Decision
  the student's IEP and unilaterally placed him in a
  private school. After schools closed due to the                              I. Introduction


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       This proceeding arises under the Individuals with      NYCRR 200.5[j]). An IHO typically conducts a
  Disabilities Education Act (IDEA) (20 U.S.C. §§             trial-type hearing regarding the matters in dispute in
  1400-1482) and Article 89 of the New York State             which the parties have the right to be accompanied
  Education Law. Petitioners (the parents) appeal,            and advised by counsel and certain other individuals
  pursuant to section 8 NYCRR 279.10(d) of the                with special knowledge or training; present evidence
  Regulations of the Commissioner of Education, from          and confront, cross-examine, and compel the
  an interim decision of an impartial hearing officer         attendance of witnesses; prohibit the introduction of
  (IHO) determining their son's pendency placement            any evidence at the hearing that has not been
  during a due process proceeding challenging the             disclosed five business days before the hearing; and
  appropriateness of respondent's (the district's)            obtain a verbatim record of the proceeding (20 U.S.C.
  recommended educational program for the student for         §       1415[f][2][A],     [h][1]-[3];    34      CFR
  the 2020-21 school year. The appeal must be                 300.512[a][1]-[4]; 8 NYCRR 200.5[j][3][v], [vii],
  dismissed.                                                  [xii]). The IHO must render and transmit a final
                                                              written decision in the matter to the parties not later
   II. Overview--Administrative Procedures
                                                              than 45 days after the expiration period or adjusted
       When a student in New York is eligible for
                                                              period for the resolution process (34 CFR
  special education services, the IDEA calls for the
                                                              300.510[b][2],     [c],   300.515[a];    8    NYCRR
  creation of an individualized education program
                                                              200.5[j][5]). A party may seek a specific extension of
  (IEP), which is delegated to a local Committee on
                                                              time of the 45-day timeline, which the IHO may grant
  Special Education (CSE) that includes, but is not
                                                              in accordance with State and federal regulations (34
  limited to, parents, teachers, a school psychologist,
                                                              CFR 300.515[c]; 8 NYCRR 200.5[j][5]). The
  and a district representative (Educ. Law § 4402; see
                                                              decision of the IHO is binding upon both parties
  20 U.S.C. § 1414[d][1][A]-[B]; 34 CFR 300.320,
                                                              unless appealed (Educ. Law § 4404[1]).
  300.321; 8 NYCRR 200.3, 200.4[d][2]). If disputes
                                                                    A party aggrieved by the decision of an IHO
  occur between parents and school districts,
                                                              may subsequently appeal to a State Review Officer
  incorporated among the procedural protections is the
                                                              (SRO) (Educ. Law § 4404[2]; see 20 U.S.C. §
  opportunity to engage in mediation, present State
                                                              1415[g][1]; 34 CFR 300.514[b][1]; 8 NYCRR
  complaints, and initiate an impartial due process
                                                              200.5[k]). The appealing party or parties must
  hearing (20 U.S.C. §§ 1221e-3, 1415[e]-[f]; Educ.
                                                              identify the findings, conclusions, and orders of the
  Law § 4404[1]; 34 CFR 300.151-300.152, 300.506,
                                                              IHO with which they disagree and indicate the relief
  300.511; 8 NYCRR 200.5[h]-[l]).
                                                              that they would like the SRO to grant (8 NYCRR
       New York State has implemented a two-tiered
                                                              279.4). The opposing party is entitled to respond to an
  system of administrative review to address disputed
                                                              appeal or cross-appeal in an answer (8 NYCRR
  matters between parents and school districts regarding
                                                              279.5). The SRO conducts an impartial review of the
  "any matter relating to the identification, evaluation
                                                              IHO's findings, conclusions, and decision and is
  or educational placement of a student with a
                                                              required to examine the entire hearing record; ensure
  disability, or a student suspected of having a
                                                              that the procedures at the hearing were consistent with
  disability, or the provision of a free appropriate public
                                                              the requirements of due process; seek additional
  education to such student" (8 NYCRR 200.5[i][1]; see
                                                              evidence if necessary; and render an independent
  20     U.S.C.       §    1415[b][6]-[7];     34     CFR
                                                              decision based upon the hearing record (34 CFR
  300.503[a][1]-[2], 300.507[a][1]). First, after an
                                                              300.514[b][2]; 8 NYCRR 279.12[a]). The SRO must
  opportunity to engage in a resolution process, the
                                                              ensure that a final decision is reached in the review
  parties appear at an impartial hearing conducted at the
                                                              and that a copy of the decision is mailed to each of the
  local level before an IHO (Educ. Law § 4404[1][a]; 8



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  parties not later than 30 days after the receipt of a       January 2020 (id. at pp. 16-17, 87).
  request for a review, except that a party may seek a             According to the parents' written arguments, in
  specific extension of time of the 30-day timeline,          March 2020, all public school buildings in the district
  which the SRO may grant in accordance with State            were closed due to the COVID-19 pandemic and
  and federal regulations (34 CFR 300.515[b], [c]; 8          remote learning was implemented (see SRO Rec. at
  NYCRR 200.5[k][2]).                                         pp. 18-21). In April 2020, the parents filed a due
        III. Facts and Procedural History                     process complaint notice alleging, among other
                                                              things, that the district failed to offer the student a
        Given the undeveloped state of the hearing
                                                              free appropriate public education (FAPE) for the
  record in the present matter, a full recitation of facts
                                                              2019-20 school year (id. at pp. 16-17, 87).
  relating to the student is not possible but is, in any
  event, unnecessary due to the procedural posture of              The district's prior written notice reflects that the
  the impartial hearing proceedings and the limited           CSE convened on June 8, 2020 to develop the
  nature of the appeal.1 Briefly, according to the            student's IEP for the 2020-21 school year (SRO Rec.
  district, the student attended a district school during     at p. 70). The CSE determined that the student was
  the 2018-19 school year (SRO Rec. at p. 87). The            eligible for special education as a student with
  district indicated that in December 2018 the CSE            multiple disabilities, and recommended a 12-month
  found the student eligible for special education as a       program consisting of a 6:1+1 special class placement
  student with multiple disabilities and for a portion of     in a district specialized school together with
  the 2018-19 and 2019-20 school years, recommended           individual sessions of OT, PT, speech-language
  a 12-month program consisting of a 12:1+(3:1)               therapy, 1:1 health paraprofessional services, as well
  special class placement in a district specialized school    as assistive technology support (id. at pp. 17, 70).
  along with the individual occupational therapy (OT),              The parents indicated that they provided the
  physical therapy (PT), speech-language therapy,             district with written 10-day notice of their intent to
  assistive technology services, and a health                 unilaterally place the student at iBrain on or about
  paraprofessional, as well as OT in a group setting (id.     June 26, 2020 (SRO Rec. at p. 17).2 The student
  at pp. 111-14, 118-19). The CSE also recommended            remained at iBrain during the 2020-21 school year
  that the student receive three 60-minute individual         (id. at p. 20).
  speech-language therapy sessions outside of the
                                                                    A. Due Process Complaint Notice
  school day (id. at pp. 112, 114). The student attended
                                                                   In a due process complaint notice dated July 6,
  the district's specialized school for the entirety of the
                                                              2020, the parents requested an impartial hearing,
  2018-19 school year, after which the district alleges
                                                              asserting that for the 2020-21 extended school year
  the parents filed a due process complaint notice
                                                              (ESY) the district failed to offer the student a free
  concerning, among other years, the 2018-19 school
                                                              appropriate public education (FAPE), and requesting
  year (Req. for Rev. at p. 2; SRO Rec. at p. 87).
                                                              that this proceeding be consolidated with the
       The district indicated in written arguments that
                                                              proceeding concerning the 2019-20 school year (SRO
  the student remained in a district school at the
                                                              Rec. at pp. 1-2).3 With regard to the 2020-21
  beginning of the 2019-20 school year and that the
                                                              proceeding, the parents alleged that the district: failed
  CSE convened on November 26, 2019 to develop the
                                                              to offer the student a seat in a classroom at a public
  student's IEP for the remainder of the 2019-20 school
                                                              school site that could implement the IEP, made the
  year (SRO Rec. at pp. 87, 89). The parties indicated
                                                              assigned public school offer "well after the start" of
  that the parents disagreed with the district's
                                                              the extended school year, and failed to recommend an
  recommendations and unilaterally placed the student
                                                              available placement (id. at pp. 3-4). With regard to the
  at the International Institute for the Brain (iBrain) in



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  public school site, the parents also asserted that the    held that the argument for pendency funding at iBrain
  district "did not have an environment properly            failed under Ventura de Paulino (Araujo, 2020 WL
  matched" to the student's academic, behavioral/social,    5701828, reconsideration denied, 2019 WL 6392818
  physical, and management needs and that student           [S.D.N.Y. Nov. 2, 2020]; see Ventura de Paulino v.
  would be placed with "peers possessing dissimilar         New York City Dep't of Educ., 959 F.3d 519, 531 [2d
  needs" (id. at p. 4). As for the June 2020 IEP itself,    Cir. 2020]).
  the parents alleged that the related services listed in        On September 15, 2020, an impartial hearing
  the IEP were inadequate, and that the district denied     was convened before IHO Rahman, during which the
  the student access to assistive technology services in    parties briefly addressed the student's pendency
  the IEP (id. at pp. 4-5). As relief, the parents sought   placement and thereafter the parents filed a motion
  direct funding by the district for the unilateral         and the district filed a brief on the issue (Tr. pp. 1-18;
  placement of the student at iBrain for the 2020-21        see SRO Rec. at pp. 16-139).4
  school year, prospective funding for special education
                                                                 The parties made numerous oral and written
  transportation (or reimbursement for such), and an
                                                            arguments before the IHO, disputing which of the
  order compelling the district to provide the student
                                                            student's IEPs prepared by the district should be
  with assistive technology services (id. at p. 6). As is
                                                            considered the basis for the student's pendency
  relevant to this appeal, the parents requested that the
                                                            placement, and they contested numerous theories for
  IHO issue an interim decision directing the district to
                                                            stay put including the "substantial similarity" test, the
  directly fund the student's tuition, costs for related
                                                            operative placement test, and the relevance of school
  services, and special transportation at iBrain as stay
                                                            building closures, remote and/or hybrid learning due
  put during the pendency of the underlying due process
                                                            to the COVID-19 pandemic (see Tr. pp. 4-6; SRO
  proceeding (id. at p. 2). The parents asserted that the
                                                            Rec. at pp. 16-30, 85-94).5
  student's pendency program was found in the district's
                                                                  In an interim decision dated October 14, 2020,
  June 8, 2020 IEP, the IEP challenged by the parents
                                                            IHO Rahman, citing to Ventura de Paulino, found that
  (id.).
                                                            because the parents removed the student from the
    B. Impartial Hearing Officer Decision                   district's public school and unilaterally placed him at
       While the administrative claims were pending         iBrain in January 2020, and then filed a due process
  the parents filed another lawsuit. Along with 32 other    complaint notice regarding the June 2020 IEP in July
  parents of children at iBrain, the parents brought a      2020, the services subsequently received at iBrain
  proceeding against the district in the United States      could not be deemed the student's then-current
  District Court for the Southern District Court of New     educational placement (SRO Rec. at pp. 9-11).
  York seeking damages and a preliminary injunction         Furthermore, the IHO found that, given the student's
  directing the district to fund iBrain as the student's    receipt of special education services at iBrain starting
  pendency placement (Araujo v. New York City Dep't         in January 2020, the parents' arguments pertaining to
  of Educ., 2020 WL 5701828 [S.D.N.Y. Sept. 24,             the district's school closure due to COVID-19 were
  2020]]).                                                  also unpersuasive (id. at p. 11). Accordingly, the IHO
       On September 24, 2020, the District Court found      denied the parents' motion and determined that the
  that the district had agreed to fund thirteen of the      student was "not entitled to an educational placement
  students' placements at iBrain but denied the             at iBRAIN during the pendency of this action" (id.).6
  remaining parents' request for stay-put funding at             IV. Appeal for State-Level Review
  iBrain, including the parents of the student in this
                                                                The parents appeal from the IHO's October 14,
  case. With respect to the parents in this case, along
                                                            2020 interim decision, asserting that the IHO erred by
  with the request of fourteen other students, the court



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  failing to find that the student's pendency placement      allegation set forth in the request for review with
  for the 2020-21 school year is the educational             denials of the parents' material allegations, and argues
  program he is receiving at iBrain, and failed to           in favor of upholding the IHO's determinations and
  determine what constituted the student's pendency          asserts among other things, that the undersigned is
  placement during the underlying due process                bound by the District Court's determination in Araujo
  proceeding. The parents allege that due to the             because it found that the student was not entitled to a
  district's public school closures and subsequent           publicly funded pendency placement at iBrain. The
  transition to "hybrid" and remote learning resulting       district requests that the undersigned dismiss the
  from the COVID-19 pandemic, the district                   parents' appeal with prejudice.
  unilaterally, substantially, and materially altered the         In a reply to the district's answer the parents
  student's educational program as it relates to             assert, among other things, that the undersigned is not
  pendency by 1) altering the location of the student's      bound by that District Court's determination in Araujo
  services from a specialized school classroom to            because that determination is the subject of an appeal
  in-home remote services, 2) precluding the student         to the Second Circuit Court of Appeals.
  from receiving any in-person services, and 3) by
  precluding in-person services, the district eliminated                V. Applicable Standards
  the student's 1:1 nurse and all in-person therapy               The IDEA and the New York State Education
  sessions, which according to the parents by definition     Law require that a student remain in his or her then
  are services to be provided as a direct service to the     current educational placement, unless the student's
  student. Therefore, the parents assert that the IHO        parents and the board of education otherwise agree,
  erred by failing to find that the student's last agreed    during the pendency of any proceedings relating to
  upon placement is "unavailable as it is no longer          the identification, evaluation or placement of the
  providing the services recommended on either" the          student (20 U.S.C. § 1415[j]; Educ. Law §§ 4404[4];
  student's November 2019 or June 2020 IEPs, and that        34 CFR 300.518[a]; 8 NYCRR 200.5[m]; see Ventura
  both the last agreed-upon and the most recent district     de Paulino v. New York City Dep't of Educ., 959 F.3d
  assigned specialized public schools remain closed for      519, 531 [2d Cir. 2020] cert. denied sub nom. Paulino
  in-person services and thus are also "unavailable" for     v. NYC Dep't of Educ., 2021 WL 78218 (U.S. Jan. 11,
  the student. The parents put forth arguments that          2021); T.M., 752 F.3d at 170-71; Mackey v. Bd. of
  iBrain is the student's operative placement as it was      Educ. for Arlington Cent. Sch. Dist., 386 F.3d 158,
  the school he attended at the time the parents filed the   163 [2d Cir. 2004], citing Zvi D. v. Ambach, 694 F.2d
  due process complaint notice, and that the student's       904, 906 [2d Cir. 1982]); M.G. v. New York City
  placement at iBrain is substantially similar to both the   Dep't of Educ., 982 F. Supp. 2d 240, 246-47
  last agreed-upon placement and the most recently           [S.D.N.Y. 2013]; Student X v. New York City Dep't of
  recommended placement. Finally, the parents assert         Educ., 2008 WL 4890440 [E.D.N.Y. Oct. 30, 2008];
  that the IHO's recusal after the interim decision was      Bd. of Educ. of Poughkeepsie City Sch. Dist. v.
  issued is not supported by either federal or State         O'Shea, 353 F. Supp. 2d 449, 455-56 [S.D.N.Y.
  statute or regulation, and resulted in the student         2005]). Pendency has the effect of an automatic
  "essentially having no pendency placement" because         injunction, and the party requesting it need not meet
  the IHO failed to identify one. The parents request        the requirements for injunctive relief such as
  that the undersigned reverse the IHO and find that the     irreparable harm, likelihood of success on the merits,
  student's placement for purposes of pendency is the        and a balancing of the hardships (Zvi D., 694 F.2d at
  educational program he receives at iBrain.                 906; see Wagner v. Bd. of Educ. of Montgomery
                                                             County, 335 F.3d 297, 301 [4th Cir. 2003]; Drinker v.
       In an answer, the district responds to the parents'
                                                             Colonial Sch. Dist., 78 F.3d 859, 864 [3d Cir. 1996]).



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  The purpose of the pendency provision is to provide         [holding that the pendency provision "requires a
  stability and consistency in the education of a student     school district to continue funding whatever
  with a disability and "strip schools of the unilateral      educational placement was last agreed upon for the
  authority they had traditionally employed to exclude        child"]; see Doe v. E. Lyme Bd. of Educ., 790 F.3d
  disabled students ... from school" (Honig v. Doe, 484       440, 452 [2d Cir. 2015] [holding that a student's
  U.S. 305, 323 [1987] [emphasis in original]; Evans v.       entitlement to stay-put arises when a due process
  Bd. of Educ. of Rhinebeck Cent. Sch. Dist., 921 F.          complaint notice is filed]; Susquenita Sch. Dist. v.
  Supp. 1184, 1187 [S.D.N.Y. 1996], citing Bd. of             Raelee, 96 F.3d 78, 83 [3d Cir. 1996]; Letter to
  Educ. of City of New York v. Ambach, 612 F. Supp.           Baugh, 211 IDELR 481 [OSEP 1987]). Furthermore,
  230, 233 [E.D.N.Y. 1985]). A student's placement            the Second Circuit has stated that educational
  pursuant to the pendency provision of the IDEA is           placement means "the general type of educational
  evaluated independently from the appropriateness of         program in which the child is placed" (Concerned
  the program offered the student by the CSE (Mackey,         Parents, 629 F.2d at 753, 756), and that "the
  386 F.3d at 160-61; Zvi D., 694 F.2d at 906; O'Shea,        pendency provision does not guarantee a disabled
  353 F. Supp. 2d at 459 [noting that "pendency               child the right to remain in the exact same school with
  placement and appropriate placement are separate and        the exact same service providers" (T.M., 752 F.3d at
  distinct concepts"]). The pendency provision does not       171). However, if there is an agreement between the
  require that a student remain in a particular site or       parties on the student's educational placement during
  location (Ventura de Paulino, 959 F.3d at 532; T.M.,        the due process proceedings, it need not be reduced to
  752 F.3d at 170-71; Concerned Parents & Citizens            a new IEP, and the agreement can supersede the prior
  for the Continuing Educ. at Malcolm X Pub. Sch. 79          unchallenged IEP as the student's then-current
  v. New York City Bd. of Educ., 629 F.2d 751, 753,           educational placement (see Bd. of Educ. of Pawling
  756 [2d Cir. 1980]; see Child's Status During               Cent. Sch. Dist. v. Schutz, 290 F.3d 476, 483-84 [2d
  Proceedings, 71 Fed. Reg. 46709 [Aug. 14, 2006]             Cir. 2002]; Evans, 921 F. Supp. at 1189 n.3; Murphy,
  [noting that the "current placement is generally not        86 F. Supp. 2d at 366; see also Letter to Hampden, 49
  considered to be location-specific"]), or at a particular   IDELR 197 [OSEP 2007]). Moreover, a prior
  grade level (Application of a Child with a Disability,      unappealed IHO decision may establish a student's
  Appeal No. 03-032; Application of a Child with a            current educational placement for purposes of
  Disability, Appeal No. 95-16).                              pendency (Student X, 2008 WL 4890440; Letter to
       Under the IDEA, the pendency inquiry focuses           Hampden, 49 IDELR 197).
  on identifying the student's then current educational                         VI. Discussion
  placement (Ventura de Paulino, 959 F.3d at 532;
                                                                   This appeal consists of a dispute that is almost
  Mackey, 386 F.3d at 163, citing Zvi D., 694 F.2d at
                                                              identical to several others brought by counsel for the
  906). Although not defined by statute, the phrase
                                                              parents for other similarly situated students (see
  "then current placement" has been found to mean
                                                              Application of a Student with a Disability, Appeal No.
  either: (1) the placement described in the student's
                                                              20-201; Application of a Student with a Disability,
  most recently implemented IEP; (2) the operative
                                                              Appeal No. 20-196; Application of a Student with a
  placement actually functioning at the time when the
                                                              Disability, Appeal No. 20-194; Application of a
  due process proceeding was commenced; or (3) the
                                                              Student with a Disability, Appeal No. 20-178;
  placement at the time of the previously implemented
                                                              Application of a Student with a Disability, Appeal No.
  IEP (Dervishi v. Stamford Bd. of Educ., 653 Fed.
                                                              20-184). As a threshold issue, the district argues that
  App'x 55, 57-58 [2d Cir. June 27, 2016], quoting
                                                              the student's pendency placement was already ruled
  Mackey, 386 F.3d at 163; T.M., 752 F.3d at 170-71
                                                              upon by the District Court, wherein it was determined



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  that the student was not entitled to publicly funded         placement during the pendency of review proceedings
  pendency placement at iBrain (see Araujo v. New              and can, for example, pay for private services,
  York City Dep't of Educ., 2020 WL 5701828 [Sept.             including private schooling. They do so, however, at
  24, 2020] reconsideration denied, 2020 WL 6392818            their own financial risk. They can obtain retroactive
  [Nov. 2, 2020]). Counsel for the parents assert in the       reimbursement from the school district after the IEP
  reply that the determinations contained in Araujo are        dispute is resolved....
  on appeal at the Second Circuit, and that the District             Ventura, 959 F.3d at 526; see also Mackey v.
  Court decision is not final, but that argument is            Board of Educ., 386 F.3d 158, 160 [2d Cir. 2004]
  improper because the only place that a decision issued       ["Parents should, however, keep in mind that if they
  by a court of competent jurisdiction can be                  'unilaterally change their child's placement during the
  legitimately challenged is either in that court or in a      pendency of review proceedings, without the consent
  direct appeal to an appellate court of competent             of state or local officials, [they] do so at their own
  jurisdiction. In this case the District Court has already    financial risk.' "] [quoting Sch. Comm. v. Dep't of Ed.,
  ruled that                                                   471 U.S. 359, 373--74, [1985]]
       Plaintiffs' theory fails because Plaintiffs have not         (Araujo v. New York City Dep't of Educ., 2020
  shown that the enrollment of these fifteen students at       WL 5701828). The parents' counsel, Brain Injury
  iBRAIN was agreed upon between their parents and             Rights Group, made a similar stay-put argument on
  [the district]. A "parent cannot unilaterally transfer his   behalf of another student at iBrain to the district
  or her child and subsequently initiate an IEP dispute        court--that a court decision was on appeal and
  to argue that the new school's services must be funded       therefore nonbinding--but that argument was squarely
  on a pendency basis," because permitting pendency            rejected by the district court, which explained "[t]his
  on such grounds "effectively renders the stay-put            Court will not engage in judicial forecasting. It takes
  provision meaningless by denying any interest of a           the law as it finds it and will apply the controlling
  school district in resolving how the student's               precedent of the Second Circuit" (Ferreira v. New
  agreed-upon educational program must be provided             York City Dep't of Educ., 2021 WL 76808 [E.D.N.Y.
  and funded." Ventura, 959 F.3d at 536. This                  Jan. 8, 2021]). The court's reasoning in Ferreira
  accurately describes what has occurred with respect to       applies to the arguments here as well.
  these fifteen students. As such, Plaintiffs' arguments
                                                                    As SROs have explained there may be instances
  on this point are foreclosed by Ventura.
                                                               when a parent pursues a pendency argument in both
       Plaintiffs attempt to distinguish Ventura on the        the administrative and judicial forums simultaneously
  basis that, in that case, [the district] had explicitly      and there is concurrent jurisdiction--however
  offered another school [iHope] to the parents, who           awkward that makes the proceedings--(see, e.g.,
  nonetheless chose to send their child to iBRAIN.             Application of a Student with a Disability, Appeal No.
  Plaintiffs argue that because Defendant has not yet          20-178; Application of the Dep't of Educ., Appeal No.
  provided the students with any pendency placement,           20-033),7 but once a court has issued a determination
  Ventura is inapplicable. This argument is                    resolving the stay-put issue, administrative hearing
  unpersuasive. If Plaintiffs' issue is that no timely         officers do not have the power to alter a court's
  pendency determination has been made, then they can          stay-put decision. The District Court's decision with
  move to obtain such relief. However, under Ventura,          respect to this student cannot be collaterally attacked
  they may not unilaterally alter students' enrollments        in an IDEA administrative due process proceeding.
  and then claim pendency funding on that basis:               The parents' assertion that the student should receive
      Parents who are dissatisfied with their child's          a publicly funded pendency placement at iBrain
  education can unilaterally change their child's              because the student's IEP was "being implemented" at



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  iBrain is just rehashing the operative placement           that the order applied to the entire school system and
  argument that was already rejected by the District         that it was of general applicability -- that is, it applied
  Court (see Araujo, 2020 WL 5701828). There is no           equally to abled and disabled students. Such an order
  evidence since the parties were before the District        does not work a change in pendency.
  Court that the district has agreed to provide public            ***
  funding of the student's placement at iBrain or that
                                                                 The two reasons discussed above are dispositive
  there has been a final determination in favor of the
                                                             -- and, indeed, require dismissal of the Plaintiff
  parents' unilateral placement of the student at iBrain.
                                                             Students' pendency claims.
  The argument that I am not bound to "one
                                                                  ***
  determination" of the student's pendency placement
  and therefore should issue a determination in conflict          Because the court has concluded that [1] no
  with the District Court's determination is nonsensical.    change in pendency has been worked by the
                                                             emergency closure of the schools, and [2] plaintiffs
       To the extent that the parents cite to footnote 65
                                                             cannot complain about an administrative order of
  in Ventura de Paulino and argues that "a parent may
                                                             general applicability to all students [see supra pp.
  exercise self-help and seek an injunction to modify
                                                             66-73], Count IV, the count that seeks a stay-put
  the student's pendency placement," the parents should
                                                             injunction, must also be dismissed, for failure to state
  have pursued that argument in District Court because
                                                             a claim on which relief may be granted. Fed. R. Civ.
  an administrative hearing officer does not have
                                                             P. 12[b][6]. This dismissal does not preclude
  authority to issue a traditional injunction like a
                                                             individual students from asserting in appropriately
  District Court to order a change in a student's stay-put
                                                             commenced lawsuits that something other than the
  placement.8
                                                             closure of the schools and the provision of remote
        To the extent that the parents assert that the
                                                             educational services during the pandemic worked a
  district's closure of public school buildings and use of
                                                             change in pendency.
  remote or hybrid learning processes as a result of the
                                                                  (J.T. v. de Blasio, 2020 WL 6748484 [S.D.N.Y.
  COVID-19 pandemic has violated the status quo and
                                                             Nov. 13, 2020] [emphasis omitted]). Applying the
  materially altered the student's programming, that
                                                             Court's reasoning in J.T. v. de Blasio--which was far
  argument does not shift the student's stay-put
                                                             more extensive than the portions quoted above--the
  placement to the parents' unilateral placement of the
                                                             system-wide closure of the district's public school
  student at iBrain. It is not the first attempt at this
                                                             buildings due to the COVID-19 pandemic and
  argument either. In a putative class action, brought by
                                                             resultant remote or hybrid learning was not a change
  parents represented by the same counsel in this case,
                                                             in placement and in no way transformed the parents'
  the District Court has ruled that:
                                                             unilateral placement of the student at iBrain thereafter
       First, the agency charged with administering the
                                                             into the student's publicly funded pendency
  IDEA program has issued guidance indicating that the
                                                             placement.
  provision of remote services does not work a change
  in placement.                                                                VII. Conclusion
       ***                                                        Since the District Court's determination that the
                                                             student was not entitled to stay put funding at iBrain,
        Second, plaintiffs are challenging a system-side
                                                             there are no new facts, such as a subsequent
  administrative decision of general applicability -- an
                                                             unappealed determination on the merits in favor of the
  order shutting schools to all students (abled and
                                                             parents granting reimbursement for a unilateral
  disabled) and all staff during an unprecedented and
                                                             placement of the student at iBrain or a new agreement
  life-threatening health crisis. There can be no question
                                                             between the parties for stay-put purposes that would



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   warrant funding at iBrain as a pendency placement.         process complaint notice, two IHO exhibits consisting
   Based on the discussion above, I find that the IHO,        of IHO Rahman's interim decision and an email dated
   while not explicitly finding that the district would be    October 26, 2020, the parents' motion in support of an
   responsible to implement the December 2018 IEP in a        interim order on pendency with three lettered
   public or State-approved nonpublic school should the       attachments, the district's brief contesting pendency
   parents seek it,9 nonetheless properly determined that     with four enumerated attachments, a notice of
   the parents were not entitled to public funding of         appearance by the district's attorney, IHO
   iBrain as the student's pendency placement, albeit I       Regenbogen's November 6, 2020 interim decision
   also reach the latter determination based upon             denying consolidation, two orders of extension of the
   information that the record does not show was              timeline (one by IHO Rahman, the other by IHO
   provided to IHO Rahman by counsel for the parties          Regenbogen), IHO Regenbogen's November 6, 2020
   (Araujo, 2020 WL 5701828 [Sept. 24, 2020]                  interim decision denying a second request, or
   reconsideration denied, 2020 WL 6392818 [Nov. 2,           reconsideration of IHO Rahman's interim decision,
   2020]; see Ventura de Paulino, 959 F.3d at 526, 536).      and an IHO record certification by IHO Regenbogen.
        The parents' remaining argument, that the IHO's       Thus, the administrative record in this proceeding is
   recusal after issuing the interim decision was             in a state of disarray. To reduce confusion and ease
   impermissible is not a pendency determination and,         the task of referencing documents in this decision, the
   therefore, is not subject to an interlocutory appeal for   undersigned consolidated the collection of documents
   State-level review (see 8 NYCRR 279.10 [d]).               into a consecutively paginated Record on Appeal
                                                              marked "SRO Rec." (see SRO Rec. at pp. 1-147). A
        THE APPEAL IS DISMISSED.
                                                              copy of the consecutively paginated Record on
        Dated: Albany, New York                               Appeal will be provided to the parties. The transcript
        JUSTYN P. BATES                                       of the proceedings submitted by the district is
        STATE REVIEW OFFICER                                  separately paginated over two hearing dates, one of
        1
         The parents' request for review in this matter       which occurred after the interim decision being
   challenges an October 14, 2020 interim decision of         challenged in this appeal (Tr. pp. 1-25). As many of
   IHO Rahman; however, the documents submitted as            the papers submitted by the parties were never
   the certified administrative hearing record also relate    identified in the record, I remind the IHOs of the
   to a separate proceeding involving the same student        critical hearing management practice of ensuring that
   before IHO Regenbogen. As described below, IHO             the administrative record clearly indicates what
   Regenbogen was subsequently appointed to preside           documents and papers were before an IHO and that
   over both matters, but did not preside over this case      documents be clearly be marked and identified in an
   during the events relevant to this appeal. No              exhibit list attached the IHO's decision, less the matter
   documents in this matter were identified as entered        be remanded by State-level review officials or the
   into the hearing record, and the IHO decisions in the      courts for reconstruction of the administrative record.
                                                                   2
   materials submitted by the district lack exhibit lists           In view of the timing, this ten-day notice
   that identify what the IHOs considered. The only           appears to relate to the 2020-21 school year, but the
   exhibit list contained in the hearing record is dated      ten-day notice itself is not the hearing record.
   November 6, 2020 bearing IHO Regenbogen's name                  3
                                                                    In the November 6, 2020 interim decision
   as presiding officer, which postdates IHO Rahman's         regarding consolidation IHO Regenbogen declined to
   interim decision by weeks. The documents submitted         consolidate the two proceedings (see Tr. pp. 19-23;
   by the district as the administrative hearing record in    SRO Rec. at p. 141).
   this matter consisted of the parents' July 6, 2020 due          4
                                                                    No testimony was taken during the hearing (Tr.



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   pp. 1-17).                                                  equivalent placement]"
        5
         Neither the parents' motion or the district's brief         (Ventura de Paulino, 959 F.3d 519, 534).
   informed the IHO of the District Court's                          9
                                                                     If the parents wish to avail themselves of a
   determination in Araujo, discussed supra, or the J.T.       publicly-funded pendency placement while the
   v. de Blasio decision discussed infra.                      proceedings are pending, under the facts at present in
        6
         As clarification of the contents of the hearing       which they have yet to prevail on the merits, they
   record, it appears that IHO Rahman recused himself          would have to remove the student from iBrain and
   from the instant matter after he issued the October 14,     return the student to the public school, which seems
   2020 interim decision denying the parents' pendency         unlikely since they rejected the district's proposed
   request, and on October 15, 2020 IHO Regenbogen             programming and are perusing a unilateral placement
   was appointed to continue the case (Req. for Rev. at        claim.
   p. 4; Answer at p. 3; see Tr. pp. 19-23; SRO Rec. at
                                                               Statutes Cited
   pp. 14, 141, 144). On November 6, 2020 IHO
                                                               20 USC 1415(j)
   Regenbogen denied the parents' request for
                                                               20 USC 1415(i)(2)(B)(iii)
   reconsideration of IHO Rahman's determination (Tr.
                                                               Cases Cited
   pp. 19-24; SRO Rec. at pp. 13, 144-45).
                                                               77 IDELR 127 -- Same or Connected Case
        7
         As the Second Circuit has explained "'an action       959 F.3d 519 -- Followed
   alleging violation of the stay-put provision falls          121 LRP 1307 -- Followed
   within one, if not more, of the enumerated exceptions       51 IDELR 122 -- Followed
   to' the IDEA's exhaustion requirement" Doe v. E.            752 F.3d 145 -- Followed

   Lyme Bd. of Educ., 790 F.3d 440, 455 [2d Cir. 2015]).       386 F.3d 158 -- Followed
                                                               694 F.2d 904 -- Followed
   It should go without saying that it is incumbent on the
                                                               982 F.Supp.2d 240 -- Followed
   parties to notify the administrative hearing officers of    353 F.Supp.2d 449 -- Followed
   any ruling issued with respect to the student that is the   335 F.3d 297 -- Followed
   subject of the administrative proceedings.                  78 F.3d 859 -- Followed
        8                                                      484 U.S. 305 -- Followed
         In footnote 65, the Second Circuit stated
                                                               921 F.Supp. 1184 -- Followed
        "[w]e do not consider here, much less resolve,         612 F.Supp. 230 -- Followed
   any question presented where the school providing           629 F.2d 751 -- Followed
   the child's pendency services is no longer available        653 F. App'x 55 -- Followed
   and the school district either refuses or fails to          790 F.3d 440 -- Followed
   provide pendency services to the child. Those               96 F.3d 78 -- Followed
                                                               211 IDELR 481 -- Followed
   circumstances are not present here. We note,
                                                               290 F.3d 476 -- Followed
   however, that at least one of our sister Circuits has
                                                               49 IDELR 197 -- Followed
   acknowledged that, under certain extraordinary              77 IDELR 218 -- Same or Connected Case
   circumstances not presented here, a parent may seek         471 U.S. 359 -- Followed
   injunctive relief to modify a student's placement           121 LRP 1207 -- Followed
   pursuant to the equitable authority provided in 20          77 IDELR 252 -- Followed

   U.S.C. § 1415[i][2][B][iii]. See Wagner v. Bd. of
   Educ. of Montgomery Cty., 335 F.3d 297, 302-03 [4th
   Cir. 2003] [involving a situation in which the
   pendency placement was no longer available, and the
   school district had failed to propose an alternative,




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   122 LRP 827                                               Special Education (CSE) that includes, but is not
    New York City Department of Education                    limited to, parents, teachers, a school psychologist,
                                                             and a district representative (Educ. Law § 4402; see
      New York State Educational Agency
                                                             20 U.S.C. § 1414[d][1][A]-[B]; 34 CFR 300.320,
                    21-210                                   300.321; 8 NYCRR 200.3, 200.4[d][2]). If disputes
              December 8, 2021                               occur between parents and school districts,
   Judge / Administrative Officer                            incorporated among the procedural protections is the
   Justyn Bates, State Review Officer                        opportunity to engage in

                                                                  mediation, present State complaints, and initiate
   Full Text                                                 an impartial due process hearing (20 U.S.C.
                                                                §§ 1221e-3, 1415[e]-[f]; Educ. Law § 4404[1];
        APPEARANCES
                                                             34 CFR 300.151-300.152, 300.506, 300.511; 8
         Brain Injury Rights Group, Ltd., attorneys for
                                                             NYCRR 200.5[h]-[ l]).
   petitioner, by John Henry Olthoff, Esq. Liz Vladeck,
                                                                  New York State has implemented a two-tiered
   General Counsel, attorneys for respondent, by
                                                             system of administrative review to address disputed
   Nathaniel R. Luken, Esq.
                                                             matters between parents and school districts regarding
        DECISION
                                                             "any matter relating to the identification, evaluation
        I.                                                   or educational placement of a student with a
        Introduction                                         disability, or a student suspected of having a
       This proceeding arises under the Individuals with     disability, or the provision of a free appropriate public
   Disabilities Education Act (IDEA) (20                     education to such student" (8 NYCRR 200.5[i][1]; see
                                                             20     U.S.C.       §    1415[b][6]-[7];     34     CFR
        U.S.C. §§ 1400-1482) and Article 89 of the New
                                                             300.503[a][1]-[2],
   York State Education Law. Petitioner (the parent)
   appeals from a decision of an impartial hearing officer        300.507[a][1]). First, after an opportunity to
   (IHO) which denied his request for compensatory           engage in a resolution process, the parties appear at an
   education services and for a prospective change to his    impartial hearing conducted at the local level before
   son's educational program and services to remedy          an IHO (Educ. Law § 4404[1][a]; 8 NYCRR
   respondent's (the district's) failure to provide an       200.5[j]). An IHO typically conducts a trial-type
   appropriate program and services to his son for the       hearing regarding the matters in dispute in which the
   period of March through August 2020. The district         parties have the right to be accompanied and advised
   cross-appeals from that portion of the IHO's decision     by counsel and certain other individuals with special
   which found that it failed to provide the student an      knowledge or training; present evidence and confront,
   appropriate program and services for the period of        cross-examine, and compel the attendance of
   March through June 2020. The appeal must be               witnesses; prohibit the introduction of any evidence at
   dismissed. The cross-appeal must be sustained.            the hearing that has not been disclosed five business
                                                             days before the hearing; and obtain a verbatim record
        II.
                                                             of the proceeding (20 U.S.C. § 1415[f][2][A],
        Overview Administrative Procedures                   [h][1]-[3]; 34 CFR 300.512[a][1]-[4]; 8 NYCRR
        When a student in New York is eligible for                200.5 [j][3][v], [vii], [xii]). The IHO must render
   special education services, the IDEA calls for the        and transmit a final written decision in the matter to
   creation of an individualized education program           the parties not later than 45 days after the expiration
   (IEP), which is delegated to a local Committee on         period or adjusted period for the resolution process



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   (34 CFR 300.510[b][2], [c], 300.515[a]; 8 NYCRR            parent, prior to the school closure, the student had
   200.5[j][5]). A party may seek a specific extension of     been attending a district specialized school (Tr. p. 31).
   time of the 45-day timeline, which the IHO may grant       The parent indicated that, for at least two weeks after
   in accordance with State and federal regulations (34       Governor Cuomo ordered schools to close, the parent
   CFR 300.515[c]; 8 NYCRR 200.5[j][5]). The
   decision of the IHO is binding upon both parties                 did not hear from the district (Tr. p. 32).
   unless appealed (Educ. Law § 4404[1]).                     Thereafter, the parent indicated that the district began
                                                              implementing remote learning ( id.). However, the
       A party aggrieved by the decision of an IHO
                                                              parent testified that "for long periods of time,"
   may subsequently appeal to a State Review Officer
                                                              totaling "multiple weeks," the student did not receive
   (SRO) (Educ. Law § 4404[2]; see 20 U.S.C. §
                                                              related services (Tr. pp. 32-34). At some point, the
   1415[g][1]; 34 CFR 300.514[b][1]; 8
                                                              parent "hire[d] a private teacher" to work with the
         NYCRR 200.5[k]). The appealing party or
                                                              student during remote delivery of instruction and
   parties must identify the findings, conclusions, and
                                                              services (Tr. p. 36).
   orders of the IHO with which they disagree and
                                                                   A.
   indicate the relief that they would like the SRO to
   grant (8 NYCRR 279.4). The opposing party is                    Due Process Complaint Notice
   entitled to respond to an appeal or cross-appeal in an           In a due process complaint notice dated August
   answer (8 NYCRR 279.5). The SRO conducts an                18, 2020, the parent alleged that the district failed to
   impartial review of the IHO's findings, conclusions,       offer the student a free appropriate public education
   and decision and is required to examine the entire         (FAPE) by "failing to implement the Student's
   hearing record; ensure that the procedures at the          educational program as established in the Student's
   hearing were consistent with the requirements of due       last agreed upon [IEP]" (Parent Ex. A at p. 1). In
   process; seek additional evidence if necessary; and        addition, the parent alleged that the district failed to
   render an independent decision based upon the              offer the student a FAPE pursuant to section 504 of
   hearing record (34 CFR 300.514[b][2]; 8 NYCRR              the Rehabilitation Act of 1973 (section 504), 29
   279.12[a]). The SRO must ensure that a final decision      U.S.C. § 794(a), by "unilaterally modifying the
   is reached in the review and that a copy of the            Student's IEP" ( id.). More specifically, the parent
   decision is mailed to each of the parties not later than   asserted that, in or around "mid- March 2020," the
   30 days after the receipt of a request for a review,       district "unilaterally, substantially, and materially
   except that a party may seek a specific extension of       altered" the student's "'status quo' educational
   time of the 30-day timeline, which the SRO may grant       program as it relate[d]" to his pendency rights when
   in accordance with State and federal regulations (34       the district: "substantially and materially altered the
   CFR 300.515[b], [c]; 8 NYCRR 200.5[k][2]).                 location" for the student's receipt of services from a
        III.                                                  "school classroom" to the student's home,
                                                              "substantially and materially altered the delivery of
        Facts and Procedural History
                                                              these services" from in- person instruction by a
         Given the undeveloped state of the hearing
                                                              special education teacher or related service provider,
   record in the present matter, a full recitation of facts
                                                              and provided the student's services remotely as
   relating to the student's educational history is not
                                                              opposed to through direct instruction required by his
   possible. The parent's allegations in this matter
                                                              IEP and without proper notice to the parent ( id. at pp.
   surround the school building closures that took place
                                                              1-2). The parent argued that the aforementioned
   in March 2020 as a result of efforts to combat the
                                                              "alterations constitute[d] an improper change" in the
   spread of the COVID-19 pandemic. According to the
                                                              student's program and placement under the IDEA ( id.



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   at p. 2).                                                   placement in a district specialized school and receive
         After noting that the district's federal and State    related services of counseling, occupational therapy
   obligations to continue to provide students with a          (OT), physical therapy (PT), speech-language
   FAPE during the COVID-19 pandemic while                     therapy, and parent counseling and training, as well as
   allowing for flexibility during this transition of          home-based special education teacher support
   services had not been waived or absolved, the parent        services (SETSS) to deliver applied behavior analysis
   alleged that the district violated the student's            (ABA) therapy ( id. at pp. 21-23, 27). According to
   pendency rights and, as a result, he sought                 the March 2021 IEP, the parent expressed that in his
   "immediate relief" (Parent Ex. A at p. 2).                  opinion the student regressed during remote learning
   Additionally, the parent requested an "extensive            and that remote learning was not appropriate for the
   independent evaluation" of the student to "determine        student ( id. at p. 6).
   the need for compensatory services as well as any                C.
   appropriate changes" to the student's "educational               Impartial Hearing Officer Decision
   program and placement" to remedy the district's
                                                                     An impartial hearing convened on July 19, 2021
   failure to offer the student a FAPE "since mid-March
                                                               and concluded on August 24, 2021, after three days of
   2020" ( id. at pp. 2-3). The parent also requested to
                                                               proceedings (Tr. pp. 1-42). At the July 19, 2021
   convene a CSE upon the completion of the IEE to
                                                               hearing date, the parent's attorney indicated that the
   "review the updated evaluation and make any
                                                               student had been evaluated by his then-current "ABA
   appropriate changes" to the student's IEP ( id. at p. 3).
                                                               SETSS provider" and that, therefore, the parent
        As relief, the parent requested that the IHO:          "would be willing to forego" the IEE requested as
   issue an "interim order" directing the district to          relief (Tr. pp. 5-6). The parent's attorney indicated
   implement the student's last-agreed upon IEP by             that the remaining relief sought included "an increase
   "reopening" the student's school, or, alternatively,        in the home SETSS ABA hours and a modification of
   allowing the parent to "self-cure the unilateral            the student's current IEP to reflect that, as well as a
   change" in the student's pendency services "to the best     bank of compensatory hours to compensate [the
   of their abilities"; issue an "interim order" directing     student] for regression due to the changing
   the district to "conduct an extensive [IEE]" of the         circumstances" (Tr. pp. 4-5). During the impartial
   student to "evaluate what, if any, changes need[ed] to      hearing, the district's representatives indicated that the
   be made" to the student's IEP; and issue an "interim        district would not be presenting evidence to defend its
   order" finding that the district failed to offer the        provision of a FAPE to the student (Tr. pp. 13, 23).1
   student a FAPE and "determine the appropriate
                                                                     In a decision dated September 9, 2021, the IHO
   compensatory services" (Parent Ex. A at p. 3).
                                                               first indicated that the time frame at issue for the
        B.                                                     denial of FAPE alleged by the parent was mid-March
        Events Post-Dating the Due Process Complaint           through June 2020 (IHO Decision at
   Notice                                                          p. 4). Based on the district's failure to present
        A CSE convened on March 18, 2021 to conduct            any evidence during the impartial hearing, the IHO
   the student's annual review and develop an IEP with         found that the district failed to meet its burden to
   an implementation date of April 1, 2021 ( see Parent        prove that it provided the student with a FAPE from
   Ex. B). The March 2021 CSE                                  mid-March 2020 through June 2020 ( id. at pp. 4-5).
                                                                    As for relief, the IHO noted that the "three and a
       recommended that the student attend a 12-month          half month FAPE deprivation" experienced by the
   school year program in a 6:1+1 special class                student "coincide[d] with the international pandemic"



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   (IHO Decision at p. 6). Without diminishing the               the parent argues that the evidence in the hearing
   seriousness of the allegations in the due process             record regarding the student's regression during the
   complaint notice, the IHO found that the parent was           period of March through August 2020 was
   not entitled to a default judgement awarding all of the       unrebutted. The parent describes that the basis for his
   compensatory education sought ( id. at pp. 6-7). The          request for 500 hours of compensatory education was
   IHO determined that, on the hearing record before             that the student was mandated to receive five hours
   her, there was insufficient evidence to determine an          per week of in-school related services (which over 20
   appropriate award of compensatory education                   weeks totaled 100 hours), seven hours per week of
   services ( id. at p. 7). As for the parent's request for an   home-based ABA (which over 20 weeks totally 140
   increase in the number of hours of home-based                 hours), and classroom instruction (which over 20
   SETSS on the student's IEP, the IHO "decline[d] to            weeks the parent estimated to add up to more than
   usurp" the CSE's role ( id.). However, the IHO                260 hours). For relief, the parent requests that the
   ordered the CSE to reconvene to "consider all of the          district be required to fund a bank of 500 hours of
   evaluations which the Student has had," along with all        compensatory education to be used by the parent as
   available information, and to prepare a new IEP ( id.         deemed appropriate, including for ABA SETSS or
   at pp. 7-8).                                                  related services to be delivered by independent
                                                                 providers. In addition, the parent requests that the
         1 At the July 30, 2021 hearing date, the district       district be required to reconvene and increase the
   representative stated her intent to present an opening        student's mandate for home-based SETSS using ABA
   statement in the matter but expressed her preference          from seven to ten hours per week.
   to wait until the next hearing date to do so (Tr. p. 13).
                                                                       In an answer and cross-appeal, the district
   At the August 24, 2021 hearing date, a different
                                                                 responds to the parent's allegations with admissions
   district representative appeared on the district's behalf
                                                                 and denials and argues that the IHO erred in finding
   and did not present an opening statement ( compare
                                                                 that the district denied the student a FAPE for the
   Tr. p. 11, with Tr. p. 20; see Tr. pp. 20-42). In
                                                                 period of March through June 2020. The district
   addition, the district did not cross- examine the parent
                                                                 argues that the IHO did not have jurisdiction over the
   or present a closing statement or post-hearing brief (
                                                                 claims contained in the parent's due process complaint
   see Tr. p. 40).
                                                                 notice and, therefore, erred in finding a denial of a
        IV.                                                      FAPE based on the allegations in the complaint. That
                                                                 is, the district argues that, since the allegations were
        Appeal for State-Level Review
                                                                 directed at the policies of the Governor of the State
         The parent appeals, arguing that the IHO                and/or the district, the IHO did not have authority to
   correctly found that the district denied the student a        consider them. Further, the district contends that it has
   FAPE but erred by "failing to consider the appropriate        been held that the district's provision of remote
   time period during which [the district] denied [the           instruction to students during a nationwide pandemic
   student] a FAPE" and by failing to order                      is not a per se breach of a right to education. To the
   compensatory education services. With respect to the          extent the parent's claims in the due process
   period of time at issue, the parent argues that, because      complaint notice alleged violations of the student's
   the student was eligible for 12-month school years            pendency placement, the district argues that the
   services, the IHO should have found that, in addition         claims were premature. Further, the district argues
   to the period of March 2020 through June 2020, the            that any argument that the student did not receive
   district failed to provide the student a FAPE for July        remote instruction during the pandemic was outside
   and August 2020. Regarding compensatory education,            the scope of the impartial hearing as it was not alleged




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   in the due process complaint notice. In answer to the      pursuing academic and functional advancement" (
   parent's appeal, the district argues that the IHO          Endrew F. v. Douglas Cty. Sch. Dist. RE-1, 580 U.S. ,
   correctly denied the parent's requested relief.            137 S. Ct. 988, 999 [2017]). While the Second Circuit
        V.                                                    has emphasized that school districts must comply
                                                              with the checklist of procedures for developing a
        Applicable Standards
                                                              student's IEP and indicated that "[m]ultiple procedural
        Two purposes of the IDEA (20 U.S.C. §§                violations may cumulatively result in the denial of a
   1400-1482) are (1) to ensure that students with            FAPE even if the violations considered individually
   disabilities have available to them a FAPE that            do not" ( R.E., 694 F.3d at 190-91), the Court has also
   emphasizes special education and related services          explained that not all procedural errors render an IEP
   designed to meet their unique needs and prepare them       legally inadequate under the IDEA ( M.H., 685 F.3d
   for further education, employment, and independent         at 245; A.C. v. Bd. of Educ. of the Chappaqua Cent.
   living; and (2) to ensure that the rights of students      Sch. Dist., 553 F.3d 165, 172 [2d Cir. 2009]; Grim v.
   with disabilities and parents of such students are         Rhinebeck Cent. Sch. Dist., 346 F.3d 377, 381 [2d
   protected (20 U.S.C. § 1400[d][1][A]-[B]; see              Cir. 2003]). Under the IDEA, if procedural violations
   generally Forest Grove Sch. Dist. v. T.A., 557 U.S.
                                                              are alleged, an administrative officer may find that a
   230, 239 [2009]; Bd. of Educ. of Hendrick Hudson           student did not receive a FAPE only if the procedural
   Cent. Sch. Dist. v. Rowley, 458                            inadequacies (a) impeded the student's right to a
        U.S. 176, 206-07 [1982]).                             FAPE, (b) significantly impeded the parents'
        A FAPE is offered to a student when (a) the           opportunity to participate in the decision-making
   board of education complies with the procedural            process regarding the provision of a FAPE to the
   requirements set forth in the IDEA, and (b) the IEP        student, or (c) caused a deprivation of educational
   developed by its CSE through the                           benefits (20 U.S.C.
                                                                   § 1415[f][3][E][ii]; 34 CFR 300.513[a][2]; 8
        IDEA's procedures is reasonably calculated to         NYCRR 200.5[j][4][ii]; Winkelman v. Parma City
   enable the student to receive educational benefits (       Sch. Dist., 550 U.S. 516, 525-26 [2007]; R.E., 694
   Rowley, 458 U.S. at 206-07; T.M. v. Cornwall Cent.         F.3d at 190; M.H., 685 F.3d at 245).
   Sch. Dist., 752 F.3d 145, 151, 160 [2d Cir.
                                                                    The IDEA directs that, in general, an IHO's
       2014]; R.E. v. New York City Dep't of Educ.,           decision must be made on substantive grounds based
   694 F.3d 167, 189-90 [2d Cir. 2012]; M.H. v. New           on a determination of whether the student received a
        York City Dep't of Educ., 685 F.3d 217, 245 [2d       FAPE (20 U.S.C. § 1415[f][3][E][i]). A school
   Cir. 2012]; Cerra v. Pawling Cent. Sch. Dist., 427         district offers a FAPE "by providing personalized
   F.3d 186, 192 [2d Cir. 2005]). "'[A]dequate                instruction with sufficient support services to permit
   compliance with the procedures prescribed would in         the child to benefit educationally from that
   most cases assure much if not all of what Congress         instruction" ( Rowley, 458 U.S. at 203). However, the
   wished in the way of substantive content in an IEP'" (     "IDEA does not itself articulate any specific level of
   Walczak v. Fla. Union Free Sch. Dist., 142 F.3d 119,       educational benefits that must be provided through an
   129 [2d Cir. 1998], quoting Rowley,                        IEP" ( Walczak, 142 F.3d at 130; see Rowley, 458
        458 U.S. at 206; see T.P. v. Mamaroneck Union         U.S. at 189). "The adequacy of a given IEP turns on
   Free Sch. Dist., 554 F.3d 247, 253 [2d Cir. 2009]).        the unique circumstances of the child for whom it was
   The Supreme Court has indicated that "[t]he IEP must       created" ( Endrew F., 137 S. Ct. at 1001). The statute
   aim to enable the child to make progress. After all, the   ensures an "appropriate" education, "not one that
   essential function of an IEP is to set out a plan for      provides everything that might be thought desirable



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   by loving parents" ( Walczak, 142 F.3d at 132,           during an impartial hearing, except that a parent
   quoting Tucker v. Bay Shore Union Free Sch. Dist.,       seeking tuition reimbursement for a unilateral
   873 F.2d 563, 567 [2d Cir. 1989] [citations omitted];    placement has the burden of proof regarding the
   see Grim, 346 F.3d at 379). Additionally, school         appropriateness of such placement (Educ. Law §
   districts are not required to "maximize" the potential   4404[1][c]; see R.E., 694 F.3d at 184-85).
   of students with disabilities ( Rowley, 458 U.S. at           VI.
   189, 199; Grim, 346 F.3d at 379; Walczak, 142 F.3d
                                                                 Discussion
   at 132). Nonetheless, a school district must provide
                                                                 A.
   "an IEP that is 'likely to produce progress, not
   regression,' and . . . affords the student with an            Jurisdiction and Scope of the Impartial Hearing
   opportunity greater than mere 'trivial advancement'" (         I turn first to the district's argument that the IHO
   Cerra, 427 F.3d at 195, quoting Walczak, 142 F.3d at     should not have found a denial of a FAPE based on
   130 [citations omitted]; see T.P., 554 F.3d at 254; P.   the parent's claims as set forth in the due process
   v. Newington Bd. of Educ., 546 F.3d 111, 118-19 [2d      complaint notice. As the district notes, the parent's
   Cir. 2008]). The IEP must be "reasonably calculated      allegations in the due process complaint notice were
   to provide some 'meaningful' benefit" ( Mrs. B. v.       very similar to those alleged in a matter involving a
   Milford Bd. of Educ., 103 F.3d 1114, 1120 [2d Cir.       different student, which were discussed in
   1997]; see Endrew F., 137 S. Ct. at 1001 [holding that   Application of the Department of Education, Appeal
   the IDEA "requires an educational program                No. 21-188. In both matters, the parents' allegations
   reasonably calculated to enable a child to make          surrounded the school closures that took place as a
   progress appropriate in light of the child's             result of the COVID-19 pandemic. Relevant to such
   circumstances"]; Rowley, 458 U.S. at 192). The           circumstances is the decision of the District Court of
   student's recommended program must also be               the Southern District of New York in J.T. v. de
   provided in the least restrictive environment (LRE)      Blasio, which, as it happens involved plaintiffs
   (20 U.S.C. § 1412[a][5][A]; 34 CFR 300.114[a][2][i],     represented by the same attorneys in the present
   300.116[a][2]; 8 NYCRR 200.1[cc],                        matters (500 F. Supp. 2d at 145). The Court in J.T.
                                                            described in detail the March 13, 2020 closure of
        200.6 [a][1]; see Newington, 546 F.3d at 114;       schools in New York City, as well as the actions
   Gagliardo v. Arlington Cent. Sch. Dist., 489 F.3d 105,   taken by the district to deliver services to students
   108 [2d Cir. 2007]; Walczak, 142 F.3d at 132).           with disabilities during the closure through remote
        An appropriate educational program begins with      delivery consistent with federal and State guidance (
   an IEP that includes a statement of the student's        id. at 181-84).
   present levels of academic achievement and                    Here, to the extent that the parent took issue with
   functional performance ( see 34 CFR 300.320[a][1]; 8     the executive decision to close schools or the district's
   NYCRR 200.4[d][2][i]), establishes annual goals          actions to deliver instruction and services to students
   designed to meet the student's needs resulting from      with disabilities remotely during the closure, those
   the student's disability and enable him or her to make   allegations are systemic in nature, and no provision of
   progress in the general education curriculum ( see 34    the IDEA or the Education Law confers jurisdiction
   CFR 300.320[a][2][i], [2][i][A]; 8 NYCRR                 upon a state or local educational agency to sit in
   200.4[d][2][iii]), and provides for the use of           review of alleged systemic violations ( see Levine v.
   appropriate special education services ( see 34 CFR      Greece Cent. Sch. Dist., 2009 WL 261470, at *9
   300.320[a][4]; 8 NYCRR 200.4[d][2][v]).2                 [W.D.N.Y. Feb. 4, 2009] [noting that the Second
       The burden of proof is on the school district        Circuit has "consistently distinguished . . . systemic



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   violations to be addressed by the federal courts, from    complaint notice is filed]). That is, the Governor's
   technical questions of how to define and treat            March 2020 executive order closing schools in the
   individual students' learning disabilities, which are     State is not the event that would trigger the student's
   best addressed by administrators"], aff'd, 353 Fed.       right to a pendency placement under the IDEA, and it
   App'x 461 [2d Cir. Nov. 12, 2009]; see also               was only the parent's filing of a due process complaint
   Application of a Student with a                           notice that gave rise to the student's rights under
        2                                                    stay-put. The parent also requested that an IHO issue
                                                             an order requiring the district to implement the
        The Supreme Court has stated that even if it is      student's last-agreed upon IEP by reopening the
   unreasonable to expect a student to attend a regular      student's school or allowing the parent to "self-cure
   education setting and achieve on grade level, the         the unilateral change in the Student's status quo"
   educational program set forth in the student's IEP        (Parent Ex. A at p. 3). However, an IHO would not
   "must be appropriately ambitious in light of his [or      have sufficient authority to countermand Governor
   her] circumstances, just as advancement from grade to     Cuomo's executive orders addressing the COVID-19
   grade is appropriately ambitious for most children in     pandemic response or to direct the district to open an
   the regular classroom. The goals may differ, but every    entire school and, in any event, district schools have
   child should have the chance to meet challenging          since re-opened and such request is now moot ( see
   objectives" ( Endrew F., 137 S. Ct. at 1000).             J.T., 500 F. Supp. 3d at 190).3

                                                                  Moreover, the district is correct that the August
        Disability, Appeal No. 11-091). Thus, neither the
                                                             2020 due process complaint notice did not allege that
   IHO, nor I for that matter, have plenary authority to
                                                             the student did not receive instruction and/or services
   pass judgment on the Governor's or district policies
                                                             remotely during the school closure, instead taking
   affecting all students. Even if I possessed such
                                                             issue with the remote delivery itself ( see Parent Ex.
   authority, courts have held that certain summary
                                                             A). Nor did the parent allege that a CSE considered
   administrative actions that have the effect of limiting
                                                             whether the student may need additional services to
   the availability of protections otherwise afforded by
                                                             make up for lost skills due to the closure of schools
   law under ordinary circumstances may be justified as
                                                             and the change in the delivery of services as a result
   part of the government's response to emergency
                                                             of the pandemic, which as discussed further below, is
   situations (see, e.g., Hernandez v. Grisham, 508 F.
                                                             the process contemplated by the United States
   Supp. 3d 893, 979 [D.N.M. 2020]), so it is far from
                                                             Department of Education (USDOE) and the State
   clear that the parents' would prevail with that
                                                             Education Department's (SED's) Office of Special
   argument in the appropriate forum anyway.
                                                             Education. Generally, the party requesting an
         In addition, in describing his allegations, the     impartial hearing has the first opportunity to identify
   parent referenced concepts such as "status quo" and       the range of issues to be addressed at the hearing (
   pendency rights (Parent Ex. A at pp. 1-3). To the         Application of a Student with a Disability, Appeal
   extent the due process complaint notice alleged a         No. 09-141; Application of the Dep't of Educ., Appeal
   violation of the student's pendency placement, such       No. 08-056). Under the IDEA and its implementing
   an allegation was premature insofar as the student was    regulations, a party requesting an impartial hearing
   not entitled to a pendency placement prior to the         may not raise issues at the impartial hearing that were
   parent's filing of the due process complaint notice in    not raised in its due process complaint notice unless
   August 2020 ( see Doe v. E. Lyme Bd. of Educ., 790        the other party agrees (20 U.S.C. § 1415[f][3][B]; 34
   F.3d 440, 452 [2d Cir. 2015] [holding that a student's    CFR 300.507[d][3][i], 300.511[d]; 8 NYCRR
   entitlement to stay-put arises when a due process
                                                                  200.5[j][1][ii]), or the original due process



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   complaint notice is amended prior to the impartial         process complaint notice in her decision ( see IHO
   hearing per permission given by the IHO at least five      Decision at pp. 2, 4). While the parent's proposed
   days prior to the impartial hearing (20 U.S.C.             amended due process complaint notice includes
                                                              factual allegations about the district's delivery of
       § 1415[c][2][E][i][II]; 34 CFR 300.507[d][3][ii];
                                                              services to the student, as the amendment was not
   8 NYCRR 200.5[i][7][b]). Indeed, "[t]he parent
                                                              effectuated, it cannot be relied upon to define the
         Further, the Court in J.T. held that the switch to   scope of the impartial hearing. Accordingly, the issue
   remote learning in light of the pandemic in and of         of the actual delivery of services to the student after
   itself did not constitute a change of placement that       March 2020 was outside the scope of the impartial
   would trigger a student's right to pendency (500 F.        hearing and could not form the basis of the IHO's
   Sup. 3d at 187-90). The Court left open the possibility    determination that the district denied the student a
   that an individual parent could assert "that something     FAPE.
   other than the closure of the schools and the provision          While the IHO understandably found that the
   of remote educational services during the pandemic         district failed to meet its burden in this matter given
   worked a change in [a student's] pendency" ( id. at        its complete failure to engage in the impartial hearing
   194); however, the parent has made no such                 process and defend its provision of a FAPE to the
   allegation here.                                           student or at the very least raise its arguments
                                                              regarding the scope of the impartial hearing or the
         must state all of the alleged deficiencies in the    justiciability of the parent's claims before the IHO,
   IEP in their initial due process complaint in order for    under the circumstances of this matter, the IHO's
   the resolution period to function. To permit [the          determination that the district failed to offer the
   parents] to add a new claim after the resolution period    student a FAPE may not stand given the allegations
   has expired would allow them to sandbag the school         that were raised in the due process complaint.
   district" ( R.E., 694 F.3d 167 at 187- 88 n.4; see also         B.
   B.M. v. New York City Dep't of Educ., 569 Fed.
                                                                   Compensatory Education
   App'x 57, 58-59 [2d Cir. June
                                                                   Although I find that the IHO erred in deciding
        18, 2014]).
                                                              the issue of the FAPE in the parent's favor given the
        During the impartial hearing, the parent's            allegations in the due process complaint notice,
   attorney indicated that the parent attempted to amend      further discussion of compensatory education is
   his due process complaint notice on September 30,          warranted. That is, even if the IHO's determination
   2020, but that the district would not agree to the         that the district failed to offer the student a FAPE
   amendment ( see Tr. p. 4). A copy of the September         stood, compensatory education would not be
   2020 due process complaint notice was included with        warranted at this juncture.
   the hearing record on appeal but was not entered into
                                                                   Both the USDOE and SED's Office of Special
   evidence as an exhibit. There is no indication in the
                                                              Education have issued guidance acknowledging that
   hearing record that the parent requested the IHO's
                                                              the global pandemic and the resulting closure of
   permission to amend the complaint. The parent did
                                                              schools resulted in "an inevitable delay" in districts
   not make further reference to the proposed
                                                              providing services to students with disabilities or
   amendment during the impartial hearing and cited
                                                              engaging in the decision-making process regarding
   only to the original August 2020 due process
                                                              such services ("Supplemental Fact Sheet Addressing
   complaint notice in his post-hearing brief ( see Parent
                                                              the Risk of COVID-19 in Preschool, Elementary and
   Post-Hr'g Brief at pp. 1-4). Consistent with this, the
                                                              Secondary Schools While Serving Children with
   IHO only referred to the original August 2020 due



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   Disabilities," 76 IDELR 104 [OCR & OSERS 2020];           (Covid-19) Outbreak in New York State," at pp. 2-5,
   "Compensatory Services for Students with                  Office of Special Educ. Mem. [June 2020], available
   Disabilities as a Result of the COVID-19 Pandemic,"       at
   at p. 1, Office of Special Educ. Mem. [June 2021],        http://www.p12.nysed.gov/specialed/publications/2020-memos/special-
   available                                              at education-supplement-2-covid-qa-memo-6-20-2020.pdf).
   http://www.p12.nysed.gov/specialed/publications/2020- The CSE's review might include a discussion of
   memos/documents/compensatory-services-for-students-with-disabilities-result-covid-19-
                                                             whether the student has new or different needs
   pandemic.pdf). In addition, the USDOE has noted           compared to before the pandemic, whether the student
   reports from some local educational agencies that         experienced a loss of skill or a lack of expected
   they were "having difficulty consistently providing       progress towards annual goals and in the general
   the services determined necessary to meet                 education curriculum, whether evaluations of the
                                                             student or implementation of an IEP was delayed, and
         [each] child's needs" and that, as a result, "some  whether some of the student's IEP services could not
   children may not have received appropriate services       be implemented due to the available methods of
   to allow them to make progress anticipated in their       service delivery or whether such methods of service
   IEP goals" ("Return To School Roadmap:                    delivery were not appropriate to meet the student's
   Development and Implementation of Individualized          needs ("Return To School Roadmap," 79 IDELR 232;
   Education Programs in the Least Restrictive               "Compensatory Services for Students with
   Environment under the Individuals with Disabilities       Disabilities as a Result of the COVID-19 Pandemic,"
   Education Act," 79 IDELR 232 [OSERS 2021]).               at pp. 3-4; see "Supplement #2 - Provision of Services
         To    address     these    delays     and     other to Students with Disabilities during Statewide School
   delivery-related issues that occurred as a result of the  Closures Due to Novel Coronavirus (Covid-19)
   pandemic, OSEP and NYSED's Office of Special              Outbreak in New York State," at p. 1).
   Education have indicated that, when school resumes,             If the parent disagrees with a CSE's
   a CSE should convene and "make individualized             determination regarding the student's entitlement to
   decisions about each child's present levels of            compensatory services, State guidance notes that:
   academic achievement and functional performance                 Parents of students with disabilities may resolve
   and determine whether, and to what extent,                disputes with school districts regarding the provision
   compensatory services may be necessary to mitigate        of FAPE by pursuing one of the dispute resolution
   the impact of the COVID-19 pandemic on the child's        options provided for in the IDEA. A parent may file a
   receipt of appropriate services" ("Return To School       State complaint directly with NYSED in accordance
   Roadmap," 79 IDELR 232; "Compensatory Services            with Commissioner's Regulation section 200.5( l),
   for Students with Disabilities as a Result of the         request mediation in accordance with Commissioner's
   COVID-19 Pandemic," at pp. 1, 3; see also                 Regulation section 200.5(h), or file a due process
   "Supplemental Fact Sheet Addressing the Risk of           complaint and proceed to hearing in accordance with
   COVID-19 in Preschool, Elementary and Secondary           Commissioner's Regulation section 200.5(j).
   Schools While Serving Children with Disabilities," 76
                                                                   ("Compensatory Services for Students with
   IDELR 104; "Questions and Answers on Providing
                                                             Disabilities as a Result of the COVID-19 Pandemic,"
   Services to Children with Disabilities During the
                                                             at p. 5; "Supplement #2 - Provision of Services to
   Coronavirus Disease 2019 Outbreak," 76 IDELR 77
                                                             Students with Disabilities during Statewide School
   [OCR & OSERS 2020]; "Supplement #2 - Provision
                                                             Closures Due to Novel Coronavirus (Covid-19)
   of Services to Students with Disabilities during
                                                             Outbreak in New York State," at p. 6).
   Statewide School Closures Due to Novel Coronavirus




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         Here, there is no indication that a CSE has               Prospective IEP Amendments
   conducted such a review. According to the March                 As a final matter, even if the IHO's
   2021 IEP, the parent expressed that, in his opinion,       determination that the district denied the student a
   the student regressed during remote learning and that      FAPE stood, the parent would not be entitled to an
   remote learning was not appropriate for the student        order requiring the CSE to convene and amend the
   (Parent Ex. B at p. 6); however, it does not appear that   student's IEP to increase the mandate for home-based
   the CSE discussed whether the evaluative information       SETSS. As the IHO observed, directing the CSE to
   supported the parent's position or considered if           amend the IEP for the 2021-22 school year would
   compensatory education would be appropriate to             tend to undermine the district's continuing obligations
   make-up for any loss of skill attendant to the school      to the student and the procedural process of the IDEA.
   closure. In any event, the March 2021 CSE and IEP          That is, an award of a specific program for the
   post- date the due process complaint notice in this        2021-22 school year and beyond would tend to
   matter and the appropriateness thereof was not at          circumvent the very statutory process that Congress
   issue in this proceeding. Indeed, the due process          envisioned, under which the CSE is the entity tasked
   complaint notice does not include any allegations          with meeting every year at the very least to review
   relating to a CSE's consideration of compensatory          information about the student's progress under current
   education or lack thereof as a result of responsive        educational programming and periodically assess any
   measures by the government to mitigate the public          changes in the student's continuing needs ( see Adams
   health threat from COVID-19.                               v. Dist. of Columbia, 285 F. Supp. 3d 381, 393,
         In sum, the USDOE and NYSED's Office of              396-97 [D.D.C. 2018] [noting with approval the
   Special Education have indicated that, under these         hearing officer's finding "that the directives of IDEA
   unique circumstances, a CSE should have the first          would be best effectuated by ordering an IEP review
   opportunity to consider the student's needs and            and revision, rather than prospective placement in a
   whether any additional services may be warranted as        private school"]; see also Student X v. New York City
   a result of the pandemic. There is no indication that      Dep't of Educ., 2008 WL 4890440, at *16 [E.D.N.Y
   this has yet occurred for this student.                    Oct. 30, 2008] [noting that "services found to be
        Under these circumstances, the IHO did not err        appropriate for a student during one school year are
   in declining to order compensatory education at this       not necessarily appropriate for the student during a
   juncture. However, the parties, if they have not           subsequent school year"]; Eley v. Dist. of Columbia,
   already done so, should conduct a review of the            2012 WL 3656471, at *11 [D.D.C. Aug. 24, 2012]
   student's present levels of academic achievement and       [noting that prospective placement is not an
   functional performance as envisioned by federal and        appropriate remedy until the IEP for the current
   state education authorities and convene a CSE to           school year has been completed and the parent
   engage in educational planning for the student, which      challenges the IEP for the current year]).
   should include a consideration of whether any
                                                                   This is especially the case since, as noted above,
   compensatory services may be warranted to make-up
                                                              the CSE convened in March 2021 and developed an
   for a loss of skill during school closures and the
                                                              IEP for the student and there is no evidence in the
   delivery of instruction and services to the student
                                                              hearing record regarding the appropriateness of that
   remotely. Once a CSE conducts such a review, if the
                                                              CSE's recommendations for the student, which appear
   parent disagrees with the recommendations thereof,
                                                              to have been based in part on new evaluative
   he may pursue dispute resolution through one of the
                                                              information and with the agreement of the parent.
   mechanisms described above.
                                                              However, when the CSE convenes as directed here, it
        C.



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   should consider whether an increase in the number of
   home- based ABA SETSS for the student is
   warranted. As noted above, if the parent disagrees
   with the recommendations of the March 2021 CSE or
   the recommendations of any CSE that convenes in
   compliance with this decision, he may use one of the
   IDEA's dispute resolution mechanisms described
   above to resolve the issue.
        VII.
        Conclusion
        In summary, given the allegations in the parent's
   August 2020 due process complaint notice, the IHO
   erred in finding that the district failed to meet its
   burden to prove that it provided the student a FAPE
   from the period of March 2020 through June 2020.
   However, even if the district had failed to meet its
   burden, the student would not be entitled to relief in
   the form of compensatory services or prospective IEP
   amendments at this juncture.
        In light of these determinations, I need not
   address the parties' remaining arguments.
        THE APPEAL IS DISMISSED.
        THE CROSS-APPEAL IS SUSTAINED.
        IT IS ORDERED that, the IHO's decision dated
   September 9, 2021, is modified by reversing that
   portion which found that the district failed to meet its
   burden to prove that it provided the student a FAPE
   from March 2020 through June 2020.

        Dated:
        Albany, New York

        December 8, 2021
        JUSTYN P. BATES
        STATE REVIEW OFFICER

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